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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1254V
                                      Filed: February 7, 2025



    WILLIAM BARTOSZEK,                                          Special Master Horner

                          Petitioner,
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


Anne Carrion Toale, Mctlaw, Sarasota, FL, for petitioner.
Neil Bhargava, U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION AWARDING DAMAGES1

      On September 14, 2017, petitioner, William Bartoszek, filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.2 (the “Vaccine Act”). Petitioner alleges that he suffered Guillain
Barré Syndrome (GBS) caused-in-fact by a Prevnar-13 vaccine he received on July 13,
2016. (ECF No. 1.)

        On August 27, 2024, a ruling on entitlement was issued, finding petitioner entitled
to compensation for his GBS. On February 7, 2025, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded $135,938.14,
including $135,000 for pain and suffering and $938.14 in unreimbursable expenses.
(ECF No. 144.) In the Proffer, respondent represented that petitioner agrees with the
proffered award. (Id. at 2.) Based on the record as a whole, I find that petitioner is
entitled to an award as stated in the Proffer.

1
  Because this document contains a reasoned explanation for the action taken in this case, it must be
made publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the document will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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       Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $135,938.14, representing $135,000.00 in compensation for pain
and suffering and $938.14 in compensation for unreimbursable expenses, to be
paid through an ACH deposit to petitioner’s counsel’s IOLTA account for prompt
disbursement to petitioner. This amount represents compensation for all damages
that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3


IT IS SO ORDERED.


                                                         s/Daniel T. Horner
                                                         Daniel T. Horner
                                                         Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS


 WILLIAM BARTOSZEK,

                          Petitioner,

 v.                                                      No. 17-1254V (ECF)
                                                         Special Master Horner
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                          Respondent.


                RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

           On September 14, 2017, William Bartoszek (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, as amended (“the

Vaccine Act” or “the Act”), 42 U.S.C. §§ 300aa-1 to -34, alleging that he suffered from Guillain-

Barre syndrome (“GBS”) following administration of a Prevnar-13 vaccine he received on July

13, 2016. ECF No. 1 at 1. On June 29, 2018, respondent file his Rule 4(c) Report, stating that

the petition was not appropriate for compensation and recommending that the petition be

dismissed. ECF No. 26. On April 18, 2023, petitioner filed a motion for a ruling on the record.

ECF No. 123. Respondent filed his response on June 20, 2023, and petitioner filed a reply on

September 6, 2023. ECF Nos. 123, 126. On August 27, 2024, the Special Master issued a

decision finding that petitioner was entitled to compensation. ECF No. 133.

      I.      Items of Compensation

              a. Pain and Suffering

           Respondent proffers that petitioner should be awarded $135,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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             b. Unreimburseable Expenses

          Respondent proffers that petitioner should be awarded $938.14 in unreimburseable

expenses. See 42 U.S.C. § 300aa-15(a)(1). Petitioner agrees.

          These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. §300aa-15(a). Petitioner agrees.

    II.      Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following:1

             a. A lump sum payment of $135,938.14, to be paid through an ACH deposit to
                petitioner’s counsel’s IOLTA account for prompt disbursement to petitioner.

                                                       Respectfully submitted,

                                                       BRETT A. SHUMATE
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       ALEXIS B. BABCOCK
                                                       Assistant Director
                                                       Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.

                                                   2
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                                         /s/ Neil Bhargava
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Dated: February 7, 2025




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